833 F.2d 149
    Lennal Khabir SHABAZZ, Plaintiff-Appellant,v.Midge CARROLL, Superintendent, California Institution forMen, United States of America, Attorney General ofCalifornia and Attorney General, UnitedStates, Defendants-Appellees.
    No. 84-6391.
    United States Court of Appeals,Ninth Circuit.
    Nov. 25, 1987.
    
      Lennal Khabir Shabazz, in pro per.
      Robert A. Pallemon, Los Angeles, Cal., for defendants-appellees.
      Before MERRILL, GOODWIN and FLETCHER, Circuit Judges.
    
    ORDER
    
      1
      The defendants-appellees' petition for rehearing is granted.  That portion of the opinion entered herein on April 10, 1987, 814 F.2d 1321, that gives Shabazz credit for time spent in state prison against Shabazz's federal sentence is vacated.  This court lacks jurisdiction to grant such relief.
    
    
      2
      The full court has been advised of the suggestion for rehearing en banc and no active judge had requested a vote on whether to rehearing the matter en banc.  (Fed.R.App.P. 35.)
    
    
      3
      The suggestion for rehearing en banc is denied.
    
    